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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION



UNITED STATES OF AMERICA,



v.                                                      CASE NO. 3:I3CR00178-001


MANUEL HIDALGO FLORES,
                       Defendant.



         REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


        This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3) upon

the Defendant's req jest to enter a pleas of guilty pursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into by the United States and the Defendant. The matter

was presented to the court upon the written consent of the Defendant and counsel for the

Defendant to proceed before a United States Magistrate Judge, said consent including the

Defendant's undersianding that he consented to not only having the Magistrate Judge conduct the

hearing and enter ary order of forfeiture, if applicable, but also to having the Magistrate Judge

make necessary finc'ings and accepting any guilty plea as may be entered that could not be

withdrawn except for fair and just reason.

         The Defendant pled guilty to Counts One, Four and Six of the Superseding Indictment in

open court and purs.ianl to a Rule 11 inquiry. Upon consideration of the responses and

statements made by the Defendant under oath, on the record, and based upon the written plea

agreement and statement of facts presented, the court makes the following findings:

        1.     That the Defendant is competent to enter a plea of guilty:

        2.     That the Defendant understands the nature of the charges against him to which his
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